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 4
                                          UNITED STATES DISTRICT COURT
 5
                                     CENTRAL DISTRICT OF CALIFORNIA

 6
      DEBRA COLLEEN TEMPLE,                                       Case No. 2:19-CV-09531 (VEB)
 7
                             Plaintiff,                           JUDGMENT
 8    vs.

 9    ANDREW M. SAUL, Commissioner of Social
      Security,
10                           Defendant.

11
             For the reasons set forth in the accompanying Decision and Order, it is hereby DECREED THAT (1)
12   Plaintiff’s request for an order remanding this case for further proceedings is GRANTED and the

13   Commissioner’s decision is REVERSED; (2) the Commissioner’s request for an order affirming the

     Commissioner’s final decision and dismissing the action is DENIED; (3) judgment is entered in Plaintiff’s
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     favor and this case is REMANDED for calculation of benefits; and (4) this case is CLOSED without prejudice
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     to a timely application for attorneys’ fees and costs.

16           DATED this 21st day of October 2020

17
                                               /s/Victor E. Bianchini
18                                             VICTOR E. BIANCHINI
                                          UNITED STATES MAGISTRATE JUDGE
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                             JUDGMENT – TEMPLE v SAUL 2:19-CV-09531-VEB
